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                              Exhibit B

                         Bostel Certification
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               §
In re                                                          §       Chapter 11
                                                               §
NPC INTERNATIONAL, INC.,                                       §       Case No. 20–33353 (DRJ)
et al.,                                                        §
                    Debtors.1                                  §       (Jointly Administered)
                                                               §

                           CERTIFICATION OF KEVIN
                        BOSTEL IN SUPPORT OF THIRD
               INTERIM AND FINAL FEE APPLICATION OF WEIL,
           GOTSHAL & MANGES LLP, ATTORNEYS FOR DEBTORS, FOR
    INTERIM AND FINAL ALLOWANCE OF COMPENSATION FOR PROFESSIONAL
    SERVICES RENDERED AND REIMBURSEMENT OF ACTUAL AND NECESSARY
    EXPENSES INCURRED FROM (I) THIRD INTERIM PERIOD OF JANUARY 1, 2021
            THROUGH MARCH 31, 2021 AND (II) FINAL COMPENSATION
        PERIOD OF JULY 1, 2020 THROUGH AND INCLUDING MARCH 31, 2021

          I, Kevin Bostel, hereby certify that:

                    1.       I am a Partner of the firm, Weil, Gotshal & Manges LLP (“Weil”), with

    responsibility for the chapter 11 cases of NPC International, Inc. (“NPC International”) and its

    affiliated debtors (collectively, the “Debtors”) in the above-captioned chapter 11 cases

    (the “Chapter 11 Cases”).

                    2.       This certification (“Certification”) is made in connection with Weil’s fee

    application, dated April 30, 2021 (the “Application”),2 for (i) interim compensation and

    reimbursement of expenses for the period commencing January 1, 2021 through March 31, 2021



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are NPC International, Inc. (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant Holdings II
    LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC (8234); NPC Restaurant Holdings, LLC
    (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). The Debtors’ corporate
    headquarters and service address is 4200 W. 115th Street Suite 200 Leawood, KS 66211.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
    Application.


                                                           1
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(the “Third Interim Period”) and (ii) final allowance of compensation and reimbursement of

expenses for the period commencing July 1, 2020 through March 31, 2021 (the “Final

Compensation Period”). I have reviewed the Application and hereby certify that the Application

complies with the applicable provisions of the Bankruptcy Code, Bankruptcy Rules, Bankruptcy

Local Rules, and Fee Guidelines.

               3.      I certify that Weil has complied with provisions of the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals (Docket

No. 434) requiring it to provide the Debtors, the Official Committee of Unsecured Creditors

(the “Creditors’ Committee”), and the United States Trustee for Region 7 (the “U.S. Trustee”)

with a statement of Weil’s fees and disbursements accrued during the Compensation Period.

               4.      Weil discussed its rates, fees, and budget with the Debtors at the outset of,

and throughout, the Chapter 11 Cases.           The budget prepared in connection with Weil’s

representation of the Debtors in the Chapter 11 Cases and a summary of the staffing plan are

attached to the Application as Exhibit G and Exhibit H, respectively. Weil seeks fees that are

less than the budgeted amounts.

               5.      In accordance with the Fee Guidelines, Weil responds to the questions

identified therein as follows:

              Question 1:        Did Weil agree to any variations from, or alternatives to, Weil's
                                 standard or customary billing rates, fees or terms for services
                                 pertaining to this engagement that were provided during the
                                 Compensation Period? If so, please explain.

              Answer:            No.

              Question 2:        If the fees sought in the Application as compared to the fees
                                 budgeted for the time period covered by the Application are higher
                                 by 10% or more, did Weil discuss the reasons for the variation with
                                 the client?

              Answer:            N/A. The fees sought in the Application are less than the budgeted


                                                  2
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                           fees.

             Question 3:   Have any of the professionals included in the Application varied
                           their hourly rate based on geographic location of the bankruptcy
                           case?

             Answer:       No.

             Question 4:   Does the Application include time or fees related to reviewing or
                           revising time records or preparing, reviewing or revising invoices?
                           If so, please quantify by hours and fees.

             Answer:       The total time expended for such matters during the Third Interim
                           Period is included within Task Code 024.

             Question 5:   Does the Application include time or fees for reviewing time records
                           to redact any privileged or other confidential information? If so,
                           please quantify hours and fees.

             Answer:       The total time expended for such matters during the Third Interim
                           Period is included within Task Code 024.

             Question 6:   Does the Application include any rate increases since Weil’s
                           retention in these cases? If so, did the client review and approve
                           those rate increases in advance? Did the client agree when retaining
                           the law firm to accept all future rate increases?

             Answer:       Yes.


Dated:   April 30, 2021
         Hoboken, New Jersey


                                          /s/ Kevin Bostel
                                          Kevin Bostel
                                          Partner
                                          Weil, Gotshal & Manges LLP




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                              Exhibit C

                     Schedule of Professional Fees
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            COMPENSATION FOR THE THIRD INTIERM PERIOD BY PROFESSIONAL
               JANUARY 1, 2021 THROUGH AND INCLUDING MARCH 31, 2021

    The attorneys who rendered professional services in these chapter 11 cases during the Third
    Interim Period are:



                                                                                TOTAL
NAME OF PROFESSIONAL:                                      YEAR     HOURLY      HOURS         TOTAL
PARTNERS AND COUNSEL                 DEPARTMENT†         ADMITTED    RATE       BILLED     COMPENSATION
Epstein, Michael A.                        CORP              1980   $1,650.00    24.50       $40,425.00
Perez, Alfredo R.                          RES               1980   $1,595.00     7.40       $11,803.00
Hoenig, Mark                               TAX               1982   $1,650.00    64.20       $105,930.00
Slack, Richard W.                           LIT              1987   $1,395.00   115.90       $161,680.50
Wessel, Paul J.                            TAX               1988   $1,795.00     3.80        $6,821.00
Pappas, Nicholas J.                         LIT              1989   $1,350.00     3.50        $4,725.00
Mastando III, John P.                       LIT              1997   $1,350.00    38.10       $51,435.00
Schrock, Ray C.                            RES               1998   $1,795.00    33.70       $60,491.50
Gingold, Brian                             CORP              2001   $1,450.00     2.90        $4,205.00
Westerman, Gavin                           CORP              2004   $1,395.00   201.50       $281,092.50
Azcuy, Beatriz                             CORP              2008   $1,300.00   155.30       $201,890.00
Bostel, Kevin                              RES               2012   $1,225.00   384.80       $469,850.00
Hwangpo, Natasha                           RES               2014   $1,200.00   514.10       $616,920.00
Margolis, Steven M. (Counsel)              TAX               1990   $1,225.00   198.80       $243,530.00
O'Loughlin, John (Counsel)                 CORP              1996   $1,175.00     6.10        $7,167.50
Morton, Matthew D. (Counsel)               CORP              2001   $1,175.00     2.70        $3,172.5
Munz, Naomi (Counsel)                      CORP              2006   $1,175.00   259.10       $304,442.50
Alexander, Lauren Zerbinopoulos
                                            LIT              2008   $1,150.00     2.10        $2,415.00
(Counsel)
Kellert, Raquel (Counsel)                   LIT              2011   $1,150.00     1.40        $1,610.00
Silber, Gary (Counsel)                     TAX               2011   $1,150.00    74.60       $85,790.00
Suehnholz, Amy (Counsel)                    LIT              2011   $1,150.00   145.10       $166,865.00
Greer, Olivia J. (Counsel)                 CORP              2013   $1,150.00     2.40        $2,760.00
De Vuono, Christina A.
                                           CORP              2015   $1,150.00   268.50       $308,775.00
(Counsel)
Total Partners and Counsel:                                                     2,510.50    $3,143,796.00



    †
        RES – Restructuring; CORP – Corporate; LIT – Litigation
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      NAME OF                                                                 TOTAL
    PROFESSIONAL:                                      YEAR       HOURLY      HOURS       TOTAL
     ASSOCIATES                 DEPARTMENT†          ADMITTED†     RATE       BILLED   COMPENSATION
Friedman, Julie T.                     RES                2003    $650.00      42.60     $27,690.00
Fliman, Ariel                         CORP                2009    $1,075.00    9.50      $10,212.50
Leslie, Harold David                   LIT                2013    $1,100.00    6.20       $6,820.00
Oveissi, Jacqueline                   CORP                2015    $1,100.00    3.70       $4,070.00
Springer, Lauren                      CORP                2015    $1,100.00    77.50     $85,250.00
Sytsma, Elizabeth                      LIT                2015    $1,075.00    18.90     $20,317.50
Glasser, Joshua M.                     LIT                2017    $1,040.00    21.10     $21,068.00
Hill, David F.                         LIT                2017    $1,040.00    26.90     $27,976.00
Jaikaran, Elizabeth Shanaz            CORP                2017    $1,040.00   270.20     $281,008.00
McGrath, Colin                         LIT                2017    $985.00      7.50       $7,387.50
Godbe, Michael                         RES                2018    $985.00      42.40     $41,764.00
Hulsey, Sam                           CORP                2018    $985.00     169.70     $167,154.50
Hwang, Angeline Joong-Hui              RES                2018    $985.00     336.50     $331,452.50
Carens, Elizabeth Anne                 RES                2018    $895.00     515.30     $458,668.50
Papadatos, Daphne                      RES                2018    $895.00     274.00     $245,230.00
Sommers, Mary                          TAX                2018    $895.00      40.00     $35,800.00
Ha, Frances R.                         RES                2018    $770.00     298.00     $229,460.00
Buschmann, Michael                     RES                2019    $895.00     295.00     $264,025.00
Chenkin, Michael Price                CORP                2019    $895.00     114.40     $102,388.00
Medianik, Katherine                   CORP                2019    $895.00      45.70     $40,901.50
Stanley, Tanner                        LIT                2019    $895.00      81.70     $73,121.50
DiDonato, Philip                       RES                2019    $845.00     130.10     $116,439.50
Guernsey, Daniel P.                    LIT                2019    $770.00      8.70       $6,699.00
Fayssoux, Leah M.                     CORP                2019    $770.00      11.60      $8,932.00
Thompson, Maryann                     CORP                2020    $895.00     109.00     $97,555.00
Liu, Ting                             CORP                2020    $770.00      76.10     $58,597.00
Allen, Jared                           LIT                2020    $770.00      29.80     $22,946.00
Lamar, Courtnii                        TAX                2021    $770.00      82.30     $63,371.00
Bier, Ilana B.                        CORP                2021    $630.00      2.90       $1,827.00


    †
        RES – Restructuring; CORP – Corporate; LIT – Litigation
    †
        *Not Yet Admitted
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      NAME OF                                                  TOTAL
    PROFESSIONAL:                         YEAR       HOURLY    HOURS         TOTAL
     ASSOCIATES           DEPARTMENT†   ADMITTED†     RATE     BILLED     COMPENSATION
Cohan, Theodore               RES          2021      $630.00   409.20       $257,796.00
Witty, Asher                 CORP        2021 (NJ)   $630.00     6.20        $3,906.00
Abdel-Hamid, Omar             LIT            *       $770.00     8.20        $6,314.00
Cummings, Kyle                LIT            *       $630.00    65.40       $41,202.00
DeBrowner, Nolan Jeremy       LIT            *       $630.00    54.50       $34,335.00
Gulati, Shreya                RES            *       $630.00    62.10       $39,088.00
Luo, Karen                   CORP            *       $630.00   145.40       $91,602.00
Munson, Ava Maria            CORP            *       $630.00    97.50       $61,425.00
Tennenberg, Avi              CORP            *       $630.00    14.90        $9,387.00
Total Associates:                                              4,010.70    $3,403,186.50
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  The paraprofessionals who rendered professional services in these chapter 11 cases during the
  Third Interim Period are:



     NAME OF                                                              TOTAL
  PROFESSIONAL:                                                 HOURLY    HOURS       TOTAL
PARAPROFESSIONALS                 DEPARTMENT‡                    RATE     BILLED   COMPENSATION
Lee, Kathleen Anne                       RES                    $460.00   120.20     $55,292.00
Stauble, Christopher A.                  RES                    $460.00    2.90       $1,334.00
Gilchrist, Roy W.                        LIT                    $420.00    12.00      $5,040.00
Fabsik, Paul                             RES                    $405.00   127.20     $51,516.00
Oliva, Angela E.F.                       LIT                    $405.00    11.40      $4,617.00
Chan, Herbert                            LIT                    $385.00    9.90       $3,811.50
Peene, Travis J.                         RES                    $275.00    9.70       $2,667.50
Pal, Himansu                             RES                    $260.00    6.80       $1,768.00
Total Paraprofessionals:                                                  300.10     $126,046.00




  ‡
      RES – Restructuring; CORP – Corporate; LIT – Litigation
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 The total fees for the Third Interim Period are:

             PROFESSIONALS                 BLENDED RATE     TOTAL HOURS      TOTAL
                                                              BILLED      COMPENSATION
TOTALS:
Partners and Counsel                            $1,252.26     2,510.50     $3,143,796.00

Associates                                      $848.53       4,010.70     $3,403,186.50
Paraprofessionals                               $420.01        300.10       $126,046.00
Blended Attorney Rate:                          $1,003.95
Blended Rate for All Timekeepers:               $978.26
Total Fees Incurred:                                          6,821.30     $6,673,028.50
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    COMPENSATION FOR THE THIRD INTERIM PERIOD BY PROJECT CATEGORY
         JANUARY 1, 2021 THROUGH AND INCLUDING MARCH 31, 2021


TASK                                    DESCRIPTION                     HOURS       AMOUNT
CODE
 001      Administrative Expense Claims                                  20.10      $17,061.50
 002      Adversary Proceedings                                           0.40       $110.00
 003      Assets Disposition/363 Matters                                2,549.40   $2,704,690.00
 004      Automatic Stay                                                 38.60      $30,451.00
 005      Bar Date/Claims Reconciliation Issues                         344.70     $341,480.00
 006      Case Administration (Case Calendar and WIP)                    51.10      $32,869.50
 007      Cash Collateral/Adequate Protection                             2.60      $2,582.50
 008      Cash Management                                                 6.30      $5,485.50
 009      Chapter 11 Plan/Confirmation                                  1,250.20   $1,163,558.50
 010      Client Communication                                          117.60     $126,809.00
 011      Corporate Governance/Securities                               206.30     $195,496.50
 012      Customer/Vendor Issues and Reclamation/503(b)(9) Claims        11.40      $7,033.50
 013      Disclosure Statement/Solicitation/Voting                       38.30      $33,071.50
 014      Employee Issues                                               129.60     $139,352.00
 015      Exclusivity                                                    17.80      $12,364.50
 016      Executory Contracts/Leases/Real Property/Section 365 Issues   729.20     $651,567.00
 017      General Case Strategy (Including Team Calls)                  218.50     $224,921.50
 018      Hearings and Court Matters                                    108.00      $87,334.00
 019      Insurance and Workers Compensation Issues                      32.10      $31,518.00
 020      Non-Bankruptcy Litigation                                      31.20      $22,520.50
 022      Pizza Hut Franchisor Issues                                   131.10     $135,559.50
 023      Regulatory/Environmental Issues                                 3.30      $3,796.50
 024      Retention/Fee Application: Ordinary Course Professionals       37.10      $33,391.50
 025      Retention/Fee Applications: Other Professionals               120.60     $101,410.00
 026      Retention/Fee Applications: Weil                              138.60      $95,284.50
 027      Schedules/SOFAs/2015.3 Report                                   0.50       $447.50
 028      Secured Creditor Issues/Meetings/Communications                14.20      $15,368.00
 029      Tax Issues                                                     67.30      $92,589.00
 030      Unsecured Creditors Issues/Meetings                           342.50     $311,369.00
 031      U.S. Trustee Issues/Communication/Monthly Operating Report      7.90      $6,159.50
 032      Utility Adequate Assurance                                      7.70      $7,076.00
 033      Wendy’s Franchisor Issues                                      47.10      $40,301.00
Total:                                                                  6,821.30   $6,673,028.50
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                   COMPENSATION FOR THE FINAL PERIOD BY PROFESSIONAL
                     JULY 1, 2020 THROUGH AND INCLUDING MARCH 31, 2021

    The attorneys who rendered professional services in these chapter 11 cases during the Final
    Compensation Period are:



                                                                                TOTAL
NAME OF PROFESSIONAL:                                      YEAR     HOURLY      HOURS       TOTAL
PARTNERS AND COUNSEL                 DEPARTMENT†         ADMITTED    RATE       BILLED   COMPENSATION
Newborn, Steven A.                          LIT              1975   $1,695.00    1.80       $3,051.00
Bond, W. Michael                           CORP              1980   $1,695.00    1.20       $2,034.00
Epstein, Michael A.                        CORP              1980   $1,650.00    24.50     $40,425.00
Epstein, Michael A.                        CORP              1980   $1,575.00    61.20     $96,390.00
Perez, Alfredo R.                          RES               1980   $1,595.00    7.40      $11,803.00
Perez, Alfredo R.                          RES               1980   $1,500.00    81.80     $122,700.00
Dixon, Catherine T.                        CORP              1982   $1,575.00    6.20       $9,765.00
Hoenig, Mark                               TAX               1982   $1,650.00    64.20     $105,930.00
Hoenig, Mark                               TAX               1982   $1,575.00   403.60     $635,670.00
Goldring, Stuart J.                        TAX               1984   $1,695.00    0.90       $1,525.50
Slack, Richard W.                           LIT              1987   $1,395.00   115.90     $161,680.50
Slack, Richard W.                           LIT              1987   $1,325.00   413.00     $547,225.00
Wessel, Paul J.                            TAX               1988   $1,795.00    3.80       $6,821.00
Wessel, Paul J.                            TAX               1988   $1,695.00    20.70     $35,086.50
Connolly, Annemargaret                     CORP              1988   $1,400.00    7.90      $11,060.00
Pappas, Nicholas J.                         LIT              1989   $1,350.00    3.50       $4,725.00
Pappas, Nicholas J.                         LIT              1989   $1,275.00    16.30     $20,782.50
Urquhart, Douglas R.                       CORP              1990   $1,525.00    57.30     $87,382.50
Adams, Frank R.                            CORP              1994   $1,525.00    40.80     $62,220.00
Kronman, Ariel                             CORP              1994   $1,250.00    3.30       $4,125.00
Wohl, David E.                             CORP              1996   $1,275.00    1.90       $2,422.50
Mastando III, John P.                       LIT              1997   $1,350.00    38.10     $51,435.00
Mastando III, John P.                       LIT              1997   $1,250.00   567.80     $709,750.00
Schrock, Ray C.                            RES               1998   $1,795.00    33.70     $60,491.50
Schrock, Ray C.                            RES               1998   $1,650.00   277.00     $457,050.00
Heyliger, Adelaja K.                       CORP              1998   $1,175.00    9.90      $11,632.50


    †
        RES – Restructuring; CORP – Corporate; LIT – Litigation
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                                                                       TOTAL
NAME OF PROFESSIONAL:                             YEAR     HOURLY      HOURS       TOTAL
PARTNERS AND COUNSEL              DEPARTMENT†   ADMITTED    RATE       BILLED   COMPENSATION
Gingold, Brian                       CORP         2001     $1,450.00    2.90       $4,205.00
Gingold, Brian                       CORP         2001     $1,375.00    21.00     $28,875.00
Garcia, Christopher L.                LIT         2001     $1,425.00    1.40       $1,995.00
Coyne, Sarah                          LIT         2001     $1,350.00    12.80     $17,280.00
Westerman, Gavin                     CORP         2004     $1,395.00   201.50     $281,092.50
Westerman, Gavin                     CORP         2004     $1,300.00   456.70     $593,710.00
Azcuy, Beatriz                       CORP         2008     $1,300.00   155.30     $201,890.00
Azcuy, Beatriz                       CORP         2008     $1,250.00   232.50     $290,625.00
Bostel, Kevin                         RES         2012     $1,225.00   384.80     $469,850.00
Bostel, Kevin                         RES         2012     $1,125.00   927.60    $1,043,550.00
Granger, Megan A.                     LIT         2012     $1,125.00    33.70     $37,912.50
Hwangpo, Natasha                      RES         2014     $1,200.00   514.10     $616,920.00
Margolis, Steven M. (Counsel)        TAX          1990     $1,225.00   198.80     $243,530.00
Margolis, Steven M. (Counsel)        TAX          1990     $1,125.00   236.20     $265,725.00
O’Loughlin, John (Counsel)           CORP         1996     $1,175.00    6.10       $7,167.50
Morton, Matthew D. (Counsel)         CORP         2001     $1,175.00    2.70       $3,172.50
Munz, Naomi (Counsel)                CORP         2006     $1,175.00   259.10     $304,442.50
Munz, Naomi (Counsel)                CORP         2006     $1,100.00   484.80     $533,280.00
Alexander, Lauren Zerbinopoulos
                                      LIT         2008     $1,150.00    2.10       $2,415.00
(Counsel)
Alexander, Lauren Zerbinopoulos
                                      LIT         2008     $1,100.00   405.60     $446,160.00
(Counsel)
Brown-Reilly, Alexis (Counsel)        LIT         2009     $1,100.00    25.60     $28,160.00
Ferrari, Janeane (Counsel)           CORP         2010     $1,100.00    35.30     $38,830.00
Kellert, Raquel (Counsel)             LIT         2011     $1,150.00    1.40       $1,610.00
Kellert, Raquel (Counsel)             LIT         2011     $1,100.00    63.20     $69,520.00
Silber, Gary (Counsel)               TAX          2011     $1,150.00    74.60     $85,790.00
Silber, Gary (Counsel)               TAX          2011     $1,100.00   227.60     $250,360.00
Suehnholz, Amy (Counsel)              LIT         2011     $1,150.00   145.10     $166,865.00
Suehnholz, Amy (Counsel)              LIT         2011     $1,100.00   429.20     $472,120.00
Djilani, Jessica N. (Counsel)         LIT         2011     $1,100.00   133.10     $146,410.00
Friedenberg, Matthew R.
                                      LIT         2012     $1,100.00    39.50     $43,450.00
(Counsel)
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                                                                   TOTAL
NAME OF PROFESSIONAL:                         YEAR     HOURLY      HOURS         TOTAL
PARTNERS AND COUNSEL          DEPARTMENT†   ADMITTED    RATE       BILLED     COMPENSATION
Novison Weaver, Heather
                                  LIT         2012     $1,100.00     2.00        $2,200.00
(Counsel)
Prugh, Amanda Pennington
                                  LIT         2012     $1,100.00     7.00        $7,700.00
(Counsel)
Greer, Olivia J. (Counsel)       CORP         2013     $1,150.00     2.40        $2,760.00
Olshan, Craig (Counsel)          TAX          2013     $1,100.00    24.30       $26,730.00
De Vuono, Christina A.
                                 CORP         2015     $1,150.00   268.50       $308,775.00
(Counsel)
De Vuono, Christina A.
                                 CORP         2015     $1,100.00   606.30       $666,930.00
(Counsel)
Total Partners and Counsel:                                        8,888.50    $10,975,190.50
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      NAME OF                                                                 TOTAL
    PROFESSIONAL:                                      YEAR       HOURLY      HOURS         TOTAL
     ASSOCIATES                 DEPARTMENT†          ADMITTED†     RATE       BILLED     COMPENSATION
Smith, Leslie S.                      CORP                1995    $1,050.00     0.40        $420.00
Friedman, Julie T.                     RES                2003    $650.00      42.60       $27,690.00
Friedman, Julie T.                     RES                2003    $625.00      92.60       $57,875.00
Fliman, Ariel                         CORP                2009    $1,075.00     9.50       $10,212.50
Fliman, Ariel                         CORP                2009    $1,010.00     9.00        $9,090.00
Fliman, Ariel                         CORP                2009    $980.00       3.30        $3,234.00
Leslie, Harold David                   LIT                2013    $1,100.00     6.20        $6,820.00
Leslie, Harold David                   LIT                2013    $1,050.00   237.80       $249,690.00
Leslie, Harold David                   LIT                2013    $1,010.00    99.10       $100,091.00
Greer, Olivia J.                      CORP                2013    $1,050.00    36.90       $38,745.00
Evens, Daniel A.                      CORP                2014    $1,050.00     1.90        $1,995.00
Hwangpo, Natasha                       RES                2014    $1,050.00   1,208.60    $1,269,030.00
Oveissi, Jacqueline                   CORP                2015    $1,100.00     3.70        $4,070.00
Oveissi, Jacqueline                   CORP                2015    $1,050.00    17.00       $17,850.00
Oveissi, Jacqueline                   CORP                2015    $1,010.00    19.30       $19,493.00
Springer, Lauren                      CORP                2015    $1,100.00    77.50       $85,250.00
Springer, Lauren                      CORP                2015    $1,050.00    32.90       $34,545.00
Springer, Lauren                      CORP                2015    $1,010.00     6.70        $6,767.00
Sytsma, Elizabeth                      LIT                2015    $1,075.00    18.90       $20,317.50
Sytsma, Elizabeth                      LIT                2015    $1,010.00   264.30       $266,943.00
Sytsma, Elizabeth                      LIT                2015    $980.00      59.00       $57,820.00
Edwards, Laura Elaine                 CORP                2016    $1,010.00     1.50        $1,515.00
Edwards, Laura Elaine                 CORP                2016    $980.00       2.40        $2,352.00
Casali, Cecile                         LIT                2016    $980.00       6.90        $6,762.00
Bednarczyk, Meggin                    CORP                2016    $930.00       4.90        $4,557.00
Dougherty, Taylor Bridget              LIT                2017    $980.00      57.10       $55,958.00
Dougherty, Taylor Bridget              LIT                2017    $930.00      14.10       $13,113.00
Glasser, Joshua M.                     LIT                2017    $1,040.00     6.50        $6,760.00
Glasser, Joshua M.                     LIT                2017    $980.00     162.70       $159,446.00


    †
        RES – Restructuring; CORP – Corporate; LIT – Litigation
    †
        *Not Yet Admitted
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      NAME OF                                                      TOTAL
    PROFESSIONAL:                            YEAR      HOURLY      HOURS       TOTAL
     ASSOCIATES              DEPARTMENT†   ADMITTED†    RATE       BILLED   COMPENSATION
Hill, David F.                   LIT         2017      $1,040.00    26.90     $27,976.00
Hill, David F.                   LIT         2017      $980.00     330.30     $323,694.00
Hill, David F.                   LIT         2017      $930.00      55.20     $51,336.00
Jaikaran, Elizabeth Shanaz      CORP         2017      $1,040.00   270.20     $281,008.00
Jaikaran, Elizabeth Shanaz      CORP         2017      $980.00     130.00     $127,400.00
Jaikaran, Elizabeth Shanaz      CORP         2017      $930.00      80.20     $74,586.00
Tavridou, Theodora              CORP         2017      $980.00      16.30     $15,974.00
Comparato, Nicole                LIT         2017      $930.00      33.90     $31,527.00
Comparato, Nicole                LIT         2017      $845.00     188.90     $159,620.50
McGrath, Colin                   LIT         2017      $985.00      7.50       $7,387.50
McGrath, Colin                   LIT         2017      $930.00     165.70     $154,101.00
Wang, Weixuan                   CORP         2017      $930.00      5.00       $4,650.00
Miller, Ronald Lee               LIT         2017      $930.00      19.10     $17,763.00
Godbe, Michael                   RES         2018      $985.00      42.40     $41,764.00
Godbe, Michael                   RES         2018      $930.00      99.40     $92,442.00
Godbe, Michael                   RES         2018      $845.00     246.20     $208,039.00
Hulsey, Sam                     CORP         2018      $985.00     169.70     $167,154.50
Hulsey, Sam                     CORP         2018      $930.00     308.20     $286,626.00
Hulsey, Sam                     CORP         2018      $845.00     175.30     $148,128.50
Hwang, Angeline Joong-
                                 RES         2018      $985.00     336.50     $331,452.50
Hui
Hwang, Angeline Joong-
                                 RES         2018      $930.00     512.60     $476,718.00
Hui
Hwang, Angeline Joong-
                                 RES         2018      $845.00     457.60     $386,672.00
Hui
Mahna, Vaishali                 CORP         2018      $930.00      42.70     $39,711.00
Mahna, Vaishali                 CORP         2018      $845.00      13.20     $11,154.00
Choi, Sarah                      LIT         2018      $845.00      10.60      $8,957.00
Carens, Elizabeth Anne           RES         2018      $895.00     464.80     $415,996.00
Carens, Elizabeth Anne           RES         2018      $845.00     560.50     $473,622.50
Carens, Elizabeth Anne           RES         2018      $730.00      4.20       $3,066.00
Papadatos, Daphne                RES         2018      $895.00     274.00     $245,230.00
Papadatos, Daphne                RES         2018      $845.00     151.90     $128,355.50
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     NAME OF                                                   TOTAL
   PROFESSIONAL:                           YEAR      HOURLY    HOURS       TOTAL
    ASSOCIATES             DEPARTMENT†   ADMITTED†    RATE     BILLED   COMPENSATION
Sommers, Mary                 TAX          2018      $895.00    40.00     $35,800.00
Sommers, Mary                 TAX          2018      $845.00    87.40     $73,853.00
Sommers, Mary                 TAX          2018      $730.00    94.40     $68,912.00
Jenkins, Jeremy               TAX          2018      $845.00    8.00       $6,760.00
Chung, Steven                 CORP         2018      $845.00    17.40     $14,703.00
Neuhauser, David              CORP         2018      $845.00    0.70       $591.50
Warhit, Alyson                 LIT         2018      $845.00    3.30       $2,788.50
Ha, Frances R.                 RES         2018      $770.00   298.00     $229,460.00
Ha, Frances R.                 RES         2018      $730.00   238.40     $174,032.00
Singh, Manleen                TAX          2018      $595.00    2.10       $1,249.50
Buschmann, Michael             RES         2019      $895.00   295.00     $264,025.00
Buschmann, Michael             RES         2019      $845.00   447.30     $377,968.50
Buschmann, Michael             RES         2019      $730.00   604.60     $441,358.00
Chenkin, Michael Price        CORP         2019      $895.00   114.40     $102,388.00
Chenkin, Michael Price        CORP         2019      $845.00   119.30     $100,808.50
Chenkin, Michael Price        CORP         2019      $730.00   108.70     $79,351.00
DiDonato, Philip               RES         2019      $895.00   130.10     $116,439.50
DiDonato, Philip               RES         2019      $845.00   230.30     $194,603.50
DiDonato, Philip               RES         2019      $730.00   470.40     $343,392.00
Medianik, Katherine           CORP         2019      $895.00    45.70     $40,901.50
Medianik, Katherine           CORP         2019      $845.00    18.30     $15,463.50
Medianik, Katherine           CORP         2019      $730.00    20.20     $14,746.00
Stanley, Tanner                LIT         2019      $895.00    81.70     $73,121.50
Stanley, Tanner                LIT         2019      $845.00   431.40     $364,533.00
Stanley, Tanner                LIT         2019      $730.00    56.30     $41,099.00
Barron, Shira                 CORP         2019      $845.00    4.80       $4,056.00
Marcu, Benjamin Jacob          LIT         2019      $845.00    52.30     $44,193.50
Richards, Daniel Spencer       LIT         2019      $845.00    10.00      $8,450.00
Wands, Lauren                  LIT         2019      $845.00    34.40     $29,068.00
Guernsey, Daniel P.            LIT         2019      $770.00    8.70       $6,699.00
Fayssoux, Leah M.             CORP         2019      $770.00    11.60      $8,932.00
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      NAME OF                                                     TOTAL
    PROFESSIONAL:                             YEAR      HOURLY    HOURS       TOTAL
     ASSOCIATES               DEPARTMENT†   ADMITTED†    RATE     BILLED   COMPENSATION
Fayssoux, Leah M.                CORP         2019      $730.00    13.70     $10,001.00
Fayssoux, Leah M.                CORP         2019      $595.00    12.50      $7,437.50
Fang, Weiru                       RES         2019      $730.00   342.90     $250,317.00
Thompson, Maryann                CORP         2020      $895.00   109.00     $97,555.00
Thompson, Maryann                CORP         2020      $845.00    42.40     $35,828.00
Thompson, Maryann                CORP         2020      $730.00    16.00     $11,680.00
Meerwarth, Andrew                 LIT         2020      $845.00    53.40     $45,123.00
Meerwarth, Andrew                 LIT         2020      $730.00    66.60     $48,618.00
Allen, Jared                      LIT         2020      $770.00    29.80     $22,946.00
Allen, Jared                      LIT         2020      $730.00   381.10     $278,203.00
Allen, Jared                      LIT         2020      $595.00    35.20     $20,944.00
Liu, Ting                        CORP         2020      $770.00    76.10     $58,597.00
Liu, Ting                        CORP         2020      $730.00    68.40     $49,932.00
Liu, Ting                        CORP         2020      $595.00   109.40     $65,093.00
Gulyako, Emily                   TAX          2020      $730.00    52.90     $38,617.00
Gulyako, Emily                   TAX          2020      $595.00    15.20      $9,044.00
Christie, Quinn                   LIT         2020      $730.00    9.40       $6,862.00
Torsilieri Hardesty, Geneva       LIT         2020      $730.00    23.70     $17,301.00
Whitelaw, Alexander               LIT         2020      $730.00   130.20     $95,046.00
Whitelaw, Alexander               LIT         2020      $595.00   122.60     $72,947.00
Lamar, Courtnii                  TAX          2021      $770.00    82.30     $63,371.00
Lamar, Courtnii                  TAX          2021      $730.00    90.50     $66,065.00
Rich, Maya                        LIT         2021      $730.00    5.60       $4,088.00
Rich, Maya                        LIT         2021      $595.00    32.10     $19,099.50
Bier, Ilana B.                   CORP         2021      $630.00    2.90       $1,827.00
Witty, Asher                     CORP         2021      $630.00    6.20       $3,906.00
Cohan, Theodore                   RES         2021      $630.00   409.20     $257,796.00
Cohan, Theodore                   RES         2021      $595.00   109.20     $64,974.00
Abdel-Hamid, Omar                 LIT           *       $770.00    8.20       $6,314.00
Abdel-Hamid, Omar                 LIT           *       $730.00    26.00     $18,980.00
Abdel-Hamid, Omar                 LIT           *       $595.00    0.80       $476.00
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     NAME OF                                                  TOTAL
   PROFESSIONAL:                          YEAR      HOURLY    HOURS          TOTAL
    ASSOCIATES            DEPARTMENT†   ADMITTED†    RATE     BILLED      COMPENSATION
Cummings, Kyle                LIT           *       $630.00    65.40        $41,202.00
Cummings, Kyle                LIT           *       $595.00    126.50       $75,267.50
DeBrowner, Nolan Jeremy       LIT           *       $630.00    54.50        $34,335.00
DeBrowner, Nolan Jeremy       LIT           *       $595.00    150.60       $89,607.00
Fairman, Lauren E.            LIT           *       $595.00    33.00        $19,635.00
Gonzalez, Joel                LIT           *       $595.00    16.20         $9,639.00
Gulati, Shreya                RES           *       $630.00    61.10        $38,493.00
Gulati, Shreya                RES           *       $595.00    74.10        $44,089.50
Luo, Karen                   CORP           *       $630.00    145.40       $91,602.00
Luo, Karen                   CORP           *       $595.00    26.20        $15,589.00
Munson, Ava Maria            CORP           *       $630.00    97.50        $61,425.00
Munson, Ava Maria            CORP           *       $595.00     4.00         $2,380.00
Tennenberg, Avi              CORP           *       $630.00    14.90         $9,387.00
Total Associates:                                             15,140.40    $12,841,908.00
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  The paraprofessionals who rendered professional services in these chapter 11 cases during the
  Final Compensation Period are:

      NAME OF
   PROFESSIONAL:
PARAPROFESSIONALS                                                                 TOTAL
  AND OTHER NON-                                              HOURLY              HOURS               TOTAL
    LEGAL STAFF                   DEPARTMENT‡                  RATE               BILLED           COMPENSATION
Lee, Kathleen Anne                       RES                   $460.00              120.20           $55,292.00
Lee, Kathleen Anne                       RES                   $435.00              40.30            $17,530.50
Stauble, Christopher A.                  RES                   $460.00               2.90             $1,334.00
Stauble, Christopher A.                  RES                   $420.00              31.80            $13,356.00
Gilchrist, Roy W.                        LIT                   $420.00              12.00             $5,040.00
Gilchrist, Roy W.                        LIT                   $400.00              10.60             $4,240.00
Wong, Sandra                             LIT                   $420.00               3.20             $1,344.00
Callender-Wilson, Lisa                  CORP                   $405.00               8.30             $3,361.50
Fabsik, Paul                             RES                   $405.00              127.20           $51,516.00
Fabsik, Paul                             RES                   $390.00              320.60           $125,034.00
Oliva, Angela E.F.                       LIT                   $405.00              11.40             $4,617.00
Oliva, Angela E.F.                       LIT                   $390.00              32.00            $12,480.00
Ellsworth, John A.                      CORP                   $400.00               5.80             $2,320.00
Hoilett, Leason                          LIT                   $400.00               2.50             $1,000.00
Jones Allen                              LIT                   $400.00              20.20             $8,080.00
Sampson, Lamia                           LIT                   $400.00               4.80             $1,920.00
Eng-Bendel, Cheryl                       LSS                   $395.00              28.20            $11,139.00
Merlin, Ann                              LIT                   $390.00              15.90             $6,201.00
Sawyer, Jayme R.                         LIT                   $390.00              14.60             $5,694.00
Zaslav, Benjamin                         RES                   $390.00              26.10            $10,179.00
Chan, Herbert                            LIT                   $385.00               9.90             $3,811.50
Chan, Herbert                            LIT                   $370.00              12.70             $4,699.00
Kunz, Trevor                             LSS                   $375.00              12.40             $4,650.00
Ting, Lara                               LSS                   $375.00              23.10             $8,662.50
Fortune, Shelly J.                       LIT                   $370.00              12.40             $4,588.00
Karkat, Sakina                          CORP                   $370.00              16.90             $6,253.00
Olvera, Rene A.                          RES                   $370.00              44.10            $16,317.00
Nudelman, Peter                          LSS                   $360.00               2.10             $756.00


  ‡
      RES – Restructuring; CORP – Corporate; LIT – Litigation; LSS – Litigation Support Services
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      NAME OF
   PROFESSIONAL:
PARAPROFESSIONALS                                        TOTAL
  AND OTHER NON-                           HOURLY        HOURS          TOTAL
    LEGAL STAFF              DEPARTMENT‡    RATE         BILLED      COMPENSATION
Aaron-Yard, Merlyn              CORP        $345.00         4.60        $1,587.00
Bogota, Alejandro                LSS        $345.00        10.50        $3,622.50
Chavez, Miguel                   LSS        $345.00        17.20        $5,934.00
Mo, Suihua                       LSS        $345.00         6.50        $2,242.50
Jalomo, Chris                    LIT        $290.00         5.70        $1,653.00
Peene, Travis J.                 RES        $275.00         9.70        $2,667.50
Peene, Travis J.                 RES        $250.00        24.40        $6,100.00
Pal, Himansu                     RES        $260.00         6.80        $1,768.00
Pal, Himansu                     RES        $250.00         4.90        $1,225.00
Altman-DeSole, Jacob             RES        $250.00         8.80        $2,200.00
Hart, Maggie                     LIT        $250.00         4.60        $1,150.00
Hernandez Jimenez, Isabela       LIT        $250.00        38.60        $9,650.00
Kleissler, Matthew Joseph        RES        $250.00         8.10        $2,025.00
LaPorte, Sydney                  LIT        $250.00         4.10        $1,025.00
O’Brien, Tara                   CORP        $250.00         1.00        $250.00
Total Paraprofessionals
                                                          1,127.70     $434,514.50
and Other Non-Legal Staff:
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 The total fees for the Final Compensation Period are:

             PROFESSIONALS                          BLENDED RATE            TOTAL HOURS               TOTAL
                                                                              BILLED               COMPENSATION
TOTALS:
Partners and Counsel                                    $1,234.76                8,888.50            $10,975,190.50

Associates                                               $848.19                15,140.40            $12,841,908.00
Paraprofessionals and Other Non-Legal Staff              $385.31                 1,127.70              $434,514.50

Blended Attorney Rate                                    $991.19
Blended Rate for All Timekeepers                         $964.03
Total Fees Incurred:                                                            25,156.60            $24,251,613.00
Reduction of Fees:1                                                                                    ($36,359.75)
Total Fees Requested:                                                           25,156.60            $24,215,253.25




 1
     The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the
     Joint Stipulation and Agreed Order between United States Trustee and Weil, Gotshal & Manges LLP Regarding
     Second Interim Fee Application for Allowance of Compensation and Reimbursement of Expenses (Docket
     No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees
     and expenses awarded $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.
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               COMPENSATION FOR THE FINAL PERIOD BY PROJECT CATEGORY
                 JANUARY 1, 2021 THROUGH AND INCLUDING MARCH 31, 2021
  TASK
                                             DESCRIPTION                                       HOURS             AMOUNT
  CODE
   001         Administrative Expense Claims                                                    20.10             $17,061.50
   002         Adversary Proceedings                                                            465.70           $452,339.50
   003         Assets Disposition/363 Matters                                                  7,565.40         $7,793,016.00
   004         Automatic Stay                                                                   860.00           $771,528.50
   005         Bar Date/Claims Reconciliation Issues                                           3,572.40         $3,260,203.00
   006         Case Administration (Case Calendar and WIP)                                      243.30           $152,650.00
   007         Cash Collateral/Adequate Protection                                              243.30           $230,817.50
   008         Cash Management                                                                  16.20             $12,981.50
   009         Chapter 11 Plan/Confirmation                                                    2,206.30         $2,086,175.50
   010         Client Communication                                                             339.80           $368,307.00
   011         Corporate Governance/Securities                                                  555.50           $539,256.50
   012         Customer/Vendor Issues and Reclamation/503(b)(9) Claims                          200.50           $178,132.50
   013         Disclosure Statement/Solicitation/Voting                                         605.70           $522,619.50
   014         Employee Issues                                                                  418.70           $408,614.50
   015         Exclusivity                                                                      32.60             $24,669.00
   016         Executory Contracts/Leases/Real Property/Section 365 Issues                     1,528.80         $1,363,536.00
   017         General Case Strategy (Including Team Calls)                                     904.60           $913,955.50
   018         Hearings and Court Matters                                                       648.10           $588,785.00
   019         Insurance and Workers Compensation Issues                                        141.40           $136,120.00
   020         Non-Bankruptcy Litigation                                                        75.10             $65,813.00
   022         Pizza Hut Franchisor Issues                                                      530.20           $508,944.00
   023         Regulatory/Environmental Issues                                                  16.90             $14,756.50
   024         Retention/Fee Application: Ordinary Course Professionals                         108.40            $85,338.50
   025         Retention/Fee Applications: Other Professionals                                  446.00           $362,998.00
   026         Retention/Fee Applications: Weil                                                 357.00           $237,559.50
   027         Schedules/SOFAs/2015.3 Report                                                    73.40             $54,726.50
   028         Secured Creditor Issues/Meetings/Communications                                  125.80           $128,331.00
   029         Tax Issues                                                                       499.80           $703,724.50
   030         Unsecured Creditors Issues/Meetings                                             1,706.90         $1,658,333.50
   031         U.S. Trustee Issues/Communication/Monthly Operating Report                       47.10             $39,912.50
   032         Utility Adequate Assurance                                                       93.80             $73,769.00
   033         Wendy’s Franchisor Issues                                                        507.80           $496,638.00
Total Fees Incurred:                                                                          25,156.60        $24,251,613.00

Reduction of Fees:1                                                                                              ($36,359.75)

     1
         The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the
         Joint Stipulation and Agreed Order between United States Trustee and Weil, Gotshal & Manges LLP Regarding
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  TASK
                                        DESCRIPTION                                       HOURS             AMOUNT
  CODE
Total Fees Requested:                                                                    25,156.60        $24,215,253.25




       Second Interim Fee Application for Allowance of Compensation and Reimbursement of Expenses (Docket
       No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees
       and expenses awarded $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.
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                              Exhibit D

                            Time Records
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                                 SUMMARY OF PRIOR MONTHLY FEE STATEMENTS


                                                First Interim Fee Application


                                   Total Compensation and Expenses Incurred
                                                                                   Total Amount Paid to Date
                       Period                for Period Covered
 Date Served
                      Covered                                                      Fees                 Expenses
                                         Fees                  Expenses
                                                                                 (@ 100%)              (@ 100%)
                      7/1/2020
   9/1/2020           through        $1,637,226.00             $16,488.78       $1,637,226.00          $16,488.78
                     7/31/2020
                      8/1/2020
  10/1/2020           through        $2,037,824.50             $7,695.23        $2,037,824.50          $7,695.23
                     8/31/2020
                      9/1/2020
  11/2/2020           through        $2,650,090.00             $7,240.90        $2,650,090.00          $7,240.90
                     9/30/2020
Total for First
 Interim Fee                         $6,325,140.50             $31,424.91       $6,325,140.50          $31,424.91
 Application
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                                                                 Second Interim Fee Application


                                                   Total Compensation and Expenses Incurred
                                                                                                                Total Amount Paid to Date
                                    Period                   for Period Covered
              Date Served
                                   Covered                                                                      Fees                    Expenses
                                                          Fees                    Expenses
                                                                                                              (@ 100%)                 (@ 100%)
                                   10/1/2020
                12/2/2020           through           $3,450,639.00              $10,689.89                 $3,450,639.00              $10,689.89
                                  10/31/2020
                                   11/1/2020
               12/31/2020           through           $3,834,260.50              $31,052.78                 $3,834,260.50              $31,052.78
                                  11/30/2020
                                   12/1/2020
                2/2/2021            through           $3,968,544.50              $39,625.96                 $3,968,544.50              $39,625.96
                                  12/31/2020
            Total for Second
              Interim Fee                            $11,253,444.00              $81,368.63                $11,217,084.25              $80,201.26
             Application1




1
    The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the Joint Stipulation and Agreed Order between
    United States Trustee and Weil, Gotshal & Manges LLP Regarding Second Interim Fee Application for Allowance of Compensation and Reimbursement of
    Expenses (Docket No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees and expenses awarded
    $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.
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                                                                 Third Interim Fee Application


                                                                              Total Amount Previously
                                    Total Compensation and Expenses                                                                               Holdback Fees
                                                                            Requested with Prior Monthly         Total Amount Paid to Date
                      Period          Incurred for Period Covered                                                                                  Requested
Date Served                                                                        Fee Statement
                     Covered
                                                                                Fees             Expenses           Fees            Expenses           Fees
                                         Fees             Expenses
                                                                              (@ 80%)           (@ 100%)          (@ 80%)          (@ 100%)          (@ 20%)
                     1/1/2021
03/01/2021           through        $3,236,059.00         $43,351.11        $2,588,847.20       $43,351.11      $2,588,847.20      $43,351.11      $647,211.80
                    1/31/2021
                     2/1/2021
03/20/2021           through        $1,234,580.50         $31,061.85         $987,664.40        $31,061.85       $987,664.40       $31,061.85      $246,916.10
                    2/28/2021
                     3/1/2021
04/26/20211          through        $2,202,389.00         $55,623.27        $1,761,911.20       $55,623.27          $0.00            $0.00         $440,477.80
                    3/31/2021
 Total for
   Third
                                    $6,673,028.50        $130,036.23        $5,338,422.80      $130,036.23      $3,576,511.60      $74,412.96      $1,334,605.70
Interim Fee
Application




Summary of Any Objections to Monthly Fee Statements: None.

Compensation Sought in this Application Not Yet Paid: $3,096,516.90




1
    The objection deadline with respect to Weil’s ninth monthly fee statement is May 12, 2021 at 4:00 p.m. (Prevailing Eastern Time). Once the objection deadline
    has passed without objection, the Debtors will remit to Weil $1,817,534.47 consisting of $1,761,911.20 in fees (80% of $2,202,389.00) and $55,623.27 in
    expenses.
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                              Exhibit E

                              Expenses
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                EXPENSE SUMMARY FOR THE THIRD INTERIM PERIOD
              JANUARY 1, 2021 THROUGH AND INCLUDING MARCH 31, 2021

EXPENSES                                                       AMOUNTS

Air Courier / Express Mail / Postage                             $514.44

Computerized Research                                           $58,092.57

Consultants and Witness Fees                                    $50,968.75

Court Reporting                                                 $17,826.57

Document Svc. Bureau/Retrieval                                   $107.80

Duplicating                                                      $940.10

Video/Deposition Tapes                                          $1,586.00

Total Expenses Requested:                                      $130,036.23
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                  EXPENSE SUMMARY FOR THE FINAL COMPENSATION PERIOD
                    JULY 1, 2020 THROUGH AND INCLUDING MARCH 31, 2021

    EXPENSES                                                                                       AMOUNTS

    Air Courier / Express Mail / Postage                                                            $6,463.84

    Computerized Research                                                                          $118,546.29

    Consultants and Witness Fees                                                                   $50,968.75

    Corporation Service                                                                              $596.96

    Court Call                                                                                       $129.00

    Court Reporting                                                                                $36,183.17

    Document Svc. Bureau/Retrieval                                                                   $107.80

    Duplicating                                                                                    $13,412.85

    Filing Fees                                                                                    $14,086.00

    Online News Monitoring                                                                           $170.00

    Transportation                                                                                   $579.11

    Video/Deposition Tapes                                                                          $1,586.00

    Total Expenses Incurred:                                                                       $242,829.77

    Reduction of Expenses:1                                                                        ($1,167.37)

    Total Expenses Requested:                                                                      $241,662.40




1
     The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the
     Joint Stipulation and Agreed Order between United States Trustee and Weil, Gotshal & Manges LLP Regarding
     Second Interim Fee Application for Allowance of Compensation and Reimbursement of Expenses (Docket
     No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees
     and expenses awarded $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.
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                              Exhibit F

                    Blended Rate Comparison Chart
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                                                     Exhibit F

                               BLENDED RATE COMPARISON CHART

      Category of Timekeeper                                 Blended Hourly Rate
                                         Billed by timekeepers in the
                                          Houston, New York, and
                                                                       Billed in this fee application
                                           Dallas offices, excluding
                                                 bankruptcy1
    Partner                                           $1,277.00                             $1,302.00
    Counsel                                           $1,014.00                             $1,172.00
    Senior Associate (7 years or more
                                                       $969.00                               $953.00
    since first admission)
    Mid-level Associate (4-6 years
                                                       $890.00                              $1,006.00
    since first admission)
    Junior Associate (0-3 years since
                                                       $668.00                               $796.00
    first admission)
    Contract Attorney                                  $393.00                                 N/A
    Staff Attorney                                     $380.00                                 N/A
    Paralegal                                          $337.00                               $420.00
    Other                                              $335.00                                 N/A
    All timekeepers aggregated:                        $889.00                               $978.00




1
    In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
    Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013, preceding year
    is a rolling 12 months year ending March 31, 2021; blended rates reflect work performed in preceding year in each
    of the domestic offices in which timekeepers collectively billed at least 10% of the hours to the case during the
    application period, excluding all data from bankruptcy law matters.
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                              Exhibit G

                               Budget
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                                                      Exhibit G
          BUDGET OF WEIL, GOTSHAL & MANGES LLP PROVIDED TO THE DEBTORS
         FOR THE THIRD INTERIM PERIOD JANUARY 1, 2021 THROUGH MARCH 31, 2021

Task                                                         ESTIMATED   ESTIMATED       HOURS         FEES
                          Task Description
Code                                                           HOURS        FEES         BILLED      SOUGHT
001       Administrative Expense Claims                         20.00     $19,250.00      20.10      $17,061.50
 002      Adversary Proceedings                                 0.00        $0.00          0.40       $110.00
 003      Assets Disposition/363 Matters                      3,000.00   $2,887,500.00   2,549.40   $2,704,690.00
 004      Automatic Stay                                       50.00      $48,125.00      38.60      $30,451.00
 005      Bar Date/Claims Reconciliation Issues                400.00    $385,000.00     344.70     $341,480.00
 006      Case Administration (Case Calendar and WIP)          60.00      $57,750.00      51.10      $32,869.50
 007      Cash Collateral/Adequate Protection                   0.00        $0.00          2.60      $2,582.50
 008      Cash Management                                      10.00      $9,625.00        6.30      $5,485.50
 009      Chapter 11 Plan/Confirmation                        1,550.00   $1,491,875.00   1,250.20   $1,163,558.50
 010      Client Communication                                 150.00    $144,375.00     117.60     $126,809.00
 011      Corporate Governance/Securities                      250.00    $240,625.00     206.30     $195,496.50
          Customer/Vendor Issues and Reclamation/503(b)(9)
 012                                                           10.00      $9,625.00       11.40      $7,033.50
          Claims
 013      Disclosure Statement/Solicitation/Voting             50.00      $48,125.00      38.30      $33,071.50
 014      Employee Issues                                      150.00    $144,375.00     129.60     $139,352.00
 015      Exclusivity                                          20.00      $19,250.00      17.80      $12,364.50
          Executory Contracts/Leases/Real Property/Section
 016                                                           850.00    $818,125.00     729.20     $651,567.00
          365 Issues
 017      General Case Strategy (Including Team Calls)         250.00    $240,625.00     218.50     $224,921.50
 018      Hearings and Court Matters                           150.00    $144,375.00     108.00      $87,334.00
 019      Insurance and Workers Compensation Issues            50.00      $48,125.00      32.10      $31,518.00
 020      Non-Bankruptcy Litigation                            50.00      $48,125.00      31.20      $22,520.50
 021      Non-Working Travel                                    0.00        $0.00          0.00        $0.00
 022      Pizza Hut Franchisor Issues                          150.00    $144,375.00     131.10     $135,559.50
 023      Regulatory/Environmental Issues                       0.00        $0.00          3.30      $3,796.50
          Retention/Fee Application: Ordinary Course
 024                                                           50.00      $48,125.00      37.10      $33,391.50
          Professionals
 025      Retention/Fee Applications: Other Professionals      150.00    $144,375.00     120.60     $101,410.00
 026      Retention/Fee Applications: Weil                     150.00    $144,375.00     138.60      $95,284.50
 027      Schedules/SOFAs/2015.3 Report                         0.00        $0.00          0.50       $447.50
 028      Secured Creditor Issues/Meetings/Communications      20.00      $19,250.00      14.20      $15,368.00
 029      Tax Issues                                           200.00    $192,500.00      67.30      $92,589.00
 030      Unsecured Creditors Issues/Meetings                  450.00    $433,125.00     342.50     $311,369.00
          U.S. Trustee Issues/Communication/Monthly
 031                                                           10.00      $9,625.00        7.90      $6,159.50
          Operating Report
 032      Utility Adequate Assurance                           10.00      $9,625.00        7.70      $7,076.00
 033      Wendy’s Franchisor Issues                            60.00      $57,750.00      47.10      $40,301.00
Total:                                                        8,320.00   $8,008,000.00   6,821.30   $6,673,028.50
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                              Exhibit H

                             Staffing Plan
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                                Exhibit H

     STAFFING PLAN OF WEIL, GOTSHAL & MANGES LLP PROVIDED
         TO THE DEBTORS FOR THE THIRD INTERIM PERIOD
             JANUARY 1, 2021 THROUGH MARCH 31, 2021

CATEGORY OF TIMEKEEPER   NUMBER OF TIMEKEEPERS     AVERAGE HOURLY RATE
                         PROJECTED TO WORK ON
                         THE MATTER DURING THE
                             BUDGET PERIOD
        Partners                   15                     $1,450.00

        Counsel                    10                     $1,100.00

       Associates                  40                      $900.00

       Paralegals                  10                      $400.00
